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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JANE DOE,

              Plaintiff,

       v.                                              No. 18 CV 4240

SCHOOL OF THE ART INSTITUTE OF                         Judge Andrea R. Wood
CHICAGO, et al.,

              Defendants.

               STIPULATION OF DISMISSAL OF CERTAIN DEFENDANTS


       Plaintiff, by her attorneys, and pursuant to Rule 41(a)(1)(A)(ii), Federal Rules of Civil

Procedure, and by agreement of all Defendants, hereby voluntarily dismisses Defendants

SCHOOL OF THE ART INSTITUTE OF CHICAGO AND JOHN PHILLIPS from this matter

with prejudice and with each party to bear her, his, or its own costs and fees.

Dated: April 5, 2019

                                                 Respectfully submitted,

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      Case: 1:18-cv-04240 Document #: 74 Filed: 04/05/19 Page 2 of 3 PageID #:478

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                            CERTIFICATE OF SERVICE

       I, Heidi Karr Sleper, an attorney, hereby certify that I caused the foregoing
document to be served upon the following counsel of record, via electronic notification
by the Court’s CM/ECF system on April 5, 2019.



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                                                     s/Heidi Karr Sleper
                                              By: _____________________________
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